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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF VIRGINIA
                                  ALEXANDRIA DIVISION

SHAD EL FERNANDEZ,

                          Plaintiff,

               v.                                         Civil Action No. 1:21-cv-00450

BOSTON PROPERTIES, INC.,                                  Circuit Court for the County of
                                                          Fairfax, Virginia
BOSTON PROPERTIES, LP,                                    Case No. CL-2021-0004043

BOSTON PROPERTIES, LLC,

BOSTON PROPERTIES SERVICES, LLC,

AND BP KINGSTOWNE THEATRE, LLC,

                          Defendants.



                                        NOTICE OF REMOVAL

          PLEASE TAKE NOTICE that Defendants Boston Properties, Inc. (“BPI”), Boston

Properties, LP (“BP, LP”), Boston Properties, LLC (“BP, LLC”), Boston Properties Services,

LLC (“BP Services”) and BP Kingstowne Theatre, LLC (“BP Kingstowne”) (collectively, as

“Defendants”), by counsel, respectfully file this Notice of Removal pursuant to 28 U.S.C. §§

1332, 1441, and 1446, to remove to the United States District Court for the Eastern District of

Virginia an action initiated against them in the Circuit Court for the County of Fairfax, Virginia.

Removal of this action is based on the following:

          1.        On March 18, 2021, Plaintiff Shad El Fernandez filed a civil action against

Defendants in the Circuit Court for the County of Fairfax, Virginia, case number CL-2021-

0004043 (hereinafter “State Court Action”). In accordance with 28 U.S.C. § 1446(a), a true and

correct copy of all process, pleadings and orders served upon Defendants in the State Court


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Action is attached to this Notice of Removal as Exhibit A and incorporated herein by reference.

          2.   The Complaint in the State Court Action asserts negligence claims against

Defendants arising from a trip-and-fall accident at 5910 Kingstowne Towne Center, Alexandria,

Virginia. (Ex. A, Compl.)

          3.   Defendants were first served with process and the Complaint in the State Court

Action on March 24, 2021. This Notice of Removal is timely because it is filed within thirty (30)

days of Boston Properties’ receipt of service of process and the Complaint in the State Court

Action. 28 U.S.C. § 1446(b).

          4.   The Eastern District of Virginia, Alexandria Division, is the federal district

embracing Fairfax County, Virginia, where the State Court Action was originally filed. 28

U.S.C. § 127(a). Thus, venue is proper in this District. 28 U.S.C. § 1441(a).

                   BASIS FOR REMOVAL – DIVERSITY JURISDICTION

          5.   The State Court Action is removable under 28 U.S.C. § 1332(a). The Court has

subject matter jurisdiction over the State Court Action because it is between citizens of different

states and the amount in controversy exceeds $75,000.00 and arises under the laws of the United

States. 28 U.S.C. §1332(a).

          6.   A corporation is a citizen of its state of incorporation and the state where its

principal place of business is located. 28 U.S.C. § 1332(c)(1). A limited-liability company has

the citizenship of each state where its members are citizens. Gen. Tech. Applications, Inc. v.

Exro Ltda, 388 F.3d 114, 121 (4th Cir. 2004). An unincorporated legal entity, such as a

partnership, is a citizen of every state in which any of its members are citizens. Carden v.

Arkoma Associates, 494 U.S. 185, 195-96 (1990). For cases removed based on diversity

jurisdiction, diversity is measured both when the state-court action is commenced, and when the



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state-court action is removed. Rowland v. Patterson, 882 F.2d 97, 99 (4th Cir. 1989) (en banc)

(explaining that “diversity must have existed both at the time the action was originally

commenced in state court and at the time of filing the petition for removal” (citing 14A Charles

A. Wright et al., Federal Practice and Procedure § 3723, at 311–14 (1985))).

          7.    BPI is now, and was at the time of the filing of the Complaint, a corporation

organized under the laws of Delaware with its principal place of business in Massachusetts.

Thus, it is a citizen of Delaware and Massachusetts for the purpose of diversity jurisdiction.

          8.    BP, LP’s sole general partner is BPI. Thus, BP, LP has the same citizenship as

BPI for diversity citizenship. BP, LP is a citizen of Delaware and Massachusetts.

          9.    BP, LLC’s members are BP, LP and BPI. Thus, BP, LLC has the same citizenship

as BP, LP and BPI for diversity citizenship. BP, LLC is a citizen of Delaware and Massachusetts.

Further, it is denied that BP, LLC owned, operated or maintained the subject property at the time

of the incident, and thus is an improper party to this action.

          10.   BP Services’ sole member is BP, LP. Thus, BP, Services has the same citizenship

as BP, LP for diversity citizenship. BP Services is a citizen of Delaware and Massachusetts. It is

denied that BP Services owned, operated or maintained the subject property at the time of the

incident, and thus is an improper party to this action.

          11.   BP Kingstowne’s sole member is BP, LP. Thus, BP Kingstowne has the same

citizenship as BP, LP for diversity citizenship. BP Kingstowne is a citizen of Delaware and

Massachusetts.

          12.   On information and belief, plaintiff is now, and was at the time of the filing of the

Complaint, a citizen of the State of Arizona.




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          13.    In view of the allegations in plaintiff’s Complaint, Defendants are informed and

believe that the amount in controversy in this case, exclusive of interest and costs, exceeds

$75,000.00 and thus satisfies the amount in controversy specified in 28 U.S.C. § 1332(a).

Plaintiff’s Complaint requests judgment against all defendants in the amount of $6,950,000.00.

(Ex. A, Compl.)

          14.    If any question arises regarding the propriety of the removal of this action,

Defendants respectfully request the opportunity to conduct jurisdictional discovery (if

necessary), file a brief, and present oral argument to confirm that this Court has jurisdiction and

that this case has been properly removed.

                                              NOTICE

          15.    In accordance with 28 U.S.C. § 1446(d), prompt written notice of the filing of this

Notice of Removal is being given to all other parties, and a true and correct copy of the Notice of

Removal is being filed with the Circuit Court for the County of Fairfax, Virginia.

                                              CONSENT

          16.    All Defendants consent to the removal of this action.

          WHEREFORE, Defendants, by counsel, respectfully pray that the State Court Action be

removed from the Circuit Court for the County of Fairfax, Virginia, to the United States District

Court for the Eastern District of Virginia, in accordance with 28 U.S.C. § 1441, and for such

further legal, equitable, or other relief that the Court deems just and proper.

          This the 13th day of April, 2021.

                                               Respectfully submitted,

                                               BOSTON PROPERTIES, INC.
                                               BOSTON PROPERTIES, LP,
                                               BOSTON PROPERTIES, LLC,
                                               BOSTON PROPERTIES SERVICES, LLC,

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                                          AND BP KINGSTOWNE THEATRE, LLC,

                                          By: /s/________________________________
                                                  Of Counsel

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                                         CERTIFICATION

         I hereby certify that the on this 13th day of April, 2021, I electronically filed the foregoing
with the Clerk of the Court using the CM/ECF System, which will send notification of such
filing to all counsel of record:

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                                                Boston Properties, LLC, Boston Properties
                                                Services, LLC and BP Kingstowne Theatre, LLC




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